          Case 3:22-cr-00145-JO Document 38 Filed 07/28/22 PageID.96 Page 1 of 2



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 6                            UNITED STATES DISTRICT COURT
 7                           SOUTHERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                        Case No.: 22cr145-JO
10                                       Plaintiff,
                                                      ORDER CONTINUING MOTION
11   V.                                               HEARINGffRIAL SETTING

12   CAREY ALICE HERNANDEZ,
13                                     Defendant.
14
15           On July 26, 2022, the parties filed a Joint Motion to Continue the Motion
16   Hearing/Trial Setting currently set for August 5, 2022, to October 14, 2022. For good
17   cause appearing, the Court GRANTS the joint motion to continue [Dkt. 37] and sets the
18   Motion Hearing/Trial Setting on October 14, 2022, at 1:30 p.m.
19          For the reasons set forth in the joint motion, the Court finds that the ends of justice
20   will be served by granting the requested continuance, and these outweigh the interests of
21   the public and the defendant in a speedy trial. Accordingly, the delay occasioned by this
22   continuance is excludable pursuant to 18 U.S.C. § 3161(h)(7)(A).
23           Further, on March 1, 2022, Ms. Hernandez filed a pretrial motion that remains
24   pending. Accordingly, the Court finds that time from March 1, 2022, to October 14, 2022,
25   shall be excluded under the Speedy Trial Act on grounds that a pretrial motion is pending.
26   18 U.S.C. § 3161(h)(l)(D).
27   II
28   II


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        Case 3:22-cr-00145-JO Document 38 Filed 07/28/22 PageID.97 Page 2 of 2



 1         The parties shall appear in person on October 14, 2022, at the motion hearing/trial
 2   setting and be prepared to explain the progress made on the complex discovery or their
 3   joint plan for timely completing discovery and setting trial.
 4         IT IS SO ORDERED.

 5   Dated:     9/J'J/22...                         n. msook Ohta
 6
                                                     TED STATES DISTRICT JUDGE
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